&
—
ma CO WO CO YD DH WN & WwW Ne

No NM NY Bw WY KY NY KN NF HK Hee He Re Re Re
aH ANY DBD mH SBP Ww HHO KH TD SO MW TD HR tr fF WH Pb

Case 4:20-cr-06002-SAB ECF No. 383 filed 11/15/21 PagelD.1920 Page 1of1

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WASHINGTON

UNITED STATES OF AMERICA, No. 20-CR-6002-SAB-6
Plaintiff,
VS. WAIVER OF SPEEDY TRIAL
LUIS ALCALA ORTEGA
Defendant.

 

 

 

I have been advised of my rights to a speedy trial under the Speedy Trial
Act, 18 U.S.C. § 3161. I hereby waive my right to a speedy trial under the Act and
consent to continuing my trial date from January 24,2022 to March 21, 2022

 

T understand the period of the continuance will be excluded from computations of

time for the purposes of the Speedy Trial Act.

east SW AV.
Defendant

Date: ¢/ Lislz)

KEN THERRIEN

yA
op

ounsel for Defendant

pate. (tse)

 

Leto bz ops,

Interpretef

WAIVER OF SPEEDY TRIAL

 
